                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

  UNITED STATES OF AMERICA                        )
                                                  )        Case No. 1:15-cr-123
  v.                                              )
                                                  )        Judge Travis R. McDonough
  WILLIAM EDWARD TURNER                           )
                                                  )        Magistrate Judge Susan K. Lee
                                                  )


                                              ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Counts One and

 Four of the eight-count Indictment; (2) accept Defendant’s guilty plea as to the lesser included

 offense of the charge in Count One of the Indictment, that is of conspiracy to distribute and

 possess with intent to distribute five grams or more of methamphetamine (actual) and fifty grams

 or more of a mixture and substance containing methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and to Count Four; (3)

 adjudicate the Defendant guilty of the lesser included offense of the charge in Count One of the

 Indictment, that is of conspiracy to distribute and possess with intent to distribute five grams or

 more of methamphetamine (actual) and fifty grams or more of a mixture and substance

 containing methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

 §§ 846, 841(a)(1), and 841(b)(1)(B), and to Count Four; (4) defer a decision on whether to

 accept the amended plea agreement until sentencing; and (5) order that Defendant remain in

 custody until sentencing in this matter (Doc. 109). Neither party filed a timely objection to the

 report and recommendation. After reviewing the record, the Court agrees with Magistrate Judge



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 Lee’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Doc. 109) pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

    1. Defendant’s motion to withdraw his not guilty plea as to the lesser included offense of

        the charge in Count One of the Indictment, that is of conspiracy to distribute and possess

        with intent to distribute five grams or more of methamphetamine (actual) and fifty grams

        or more of a mixture and substance containing methamphetamine, a Schedule II

        controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and

        to Count Four of the Indictment is GRANTED;

    2. Defendant’s plea of guilty to the lesser included offense of the charge in Count One of

        the Indictment, that is of conspiracy to distribute and possess with intent to distribute five

        grams or more of methamphetamine (actual) and fifty grams or more of a mixture and

        substance containing methamphetamine, a Schedule II controlled substance, in violation

        of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and to Count Four is ACCEPTED;

    3. Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge in

        Count One of the Indictment, that is of conspiracy to distribute and possess with intent to

        distribute five grams or more of methamphetamine (actual) and fifty grams or more of a

        mixture and substance containing methamphetamine, a Schedule II controlled substance,

        in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), and to Count Four;

    4. A decision on whether to accept the amended plea agreement is DEFERRED until

        sentencing; and




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    5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on June 15, 2018 at 9:00 a.m. [EASTERN] before the

       undersigned.

    SO ORDERED.


                                         /s/Travis R. McDonough
                                         TRAVIS R. MCDONOUGH
                                         UNITED STATES DISTRICT JUDGE




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